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 1   PETER KMETO
     Attorney at Law
 2   State Bar No. 78827
     1007 Seventh Street, Suite 318
 3   Sacramento, CA 95814
     (916) 444-7420; FAX: (916) 441-6714
 4
     Attorney for: ABDUL RASHID TANKO
 5

 6                      IN THE UNITED STATES DISTRICT COURT

 7                    FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                       )    No. CR-S-06-0127 GEB
                                                     )
10                      Plaintiff,                   )
                                                     )    STIPULATION AND ORDER
11         vs.                                       )
                                                     )
12   ABDUL RASHID TANKO and,                         )
     NEAL FRANCIS BRADY,                             )
13                                                   )
                        Defendants.                  )
14                                                   )

15

16         Defendants, ABDUL RASHID TANKO, through his attorney, PETER

17   KMETO, and the United States of America, through its counsel of record, ELLEN V.

18   ENDRIZZI, stipulate and agree that:

19         1. The presently scheduled date of July 7, 2006 for Status Conference

20         Hearing shall be vacated and said Status Conference Hearing be

21         rescheduled for August 11, 2006 at 9:00 a.m.;

22         2. A Draft Plea Agreement has been distributed to defendant Tanko.

23         He and his lawyer require further time in order to discuss the terms of the

24         agreement particularly with regard to defendant Tanko’s criminal history.

25         It appears that defendant Tanko’s juvenile record is at issue and disclosure

26         of same will require the filing of a petition in the Juvenile Court of the

27         County of Sacramento;

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 1         3. The Court may exclude Speedy Trial time pursuant to 18 U.S.C. §

 2         3161(h)(8)(A) and (B)(iv), (Local Code T-4), for defense counsel’s review of

 3         recently provided Draft Plea Agreements with client and conduct further

 4         settlement discussions with the government.

 5   IT IS SO STIPULATED.

 6   Dated:   July 6, 2006
                                                   /s/ Ellen V. Endrizzi
 7                                                 ELLEN V. ENDRIZZI
                                                   Assistant U.S. Attorney
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10
     Dated:   July 6, 2006                       /s/ Peter Kmeto
11                                                PETER KMETO
                                                  Attorney for Defendant
12                                                ABDUL RASHID TANKO

13

14                                         ORDER

15               UPON GOOD CAUSE SHOW N and the stipulation of the parties, it is

16   ordered that the hearing on motions be continued as set forth above.

17               The Court finds excludable time pursuant to18 U.S.C. §3161

18   (h)(8)(B)(iv) [Local Code T4] until August 11, 2006, to permit counsel to prepare.

19   Dated: July 7, 2006

20
                                           /s/ Garland E. Burrell, Jr.
21                                         GARLAND E. BURRELL, JR.
                                           United States District Judge
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